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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DENNIS J. LUTZ and SANDRA LUTZ,
His Wife,
Plaintiffs,
vs. : Civil Action No. lS-cv-

AMIT ARBIND PRASAD, M.D.,

Defendant. : JURY TRIAL DEMANDED

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l. Plaintiffs, Dennis J. Lutz and Sandra Lutz, his Wife, are adult individuals residing

at 694 Hawk Avenue, Town of Phillipsburg, County of Warren, State of New Jersey and as such
are deemed to be citizens of the State of New Jersey.

2. Defendant, Amit Arbind Prasad, M.D., is an adult individual licensed to practice
medicine in the Commonwealth of Pennsylvania; and in particular, the speciality of
anesthesiology He currently resides at 432 W. Chocolate Avenue, City of Hershey, County of
Dauphin, Commonwealth of Pennsylvania and as such is deemed to be a citizen of the
Commonwealth of Pennsylvania.

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3. Plaintiffs are citizens of the State of NeW Jersey and Defendant, Prasad is a citizen
of the Commonwealth of Pennsylvania, and the medical treatment at issue in this Complaint
occurred in the Eastern District of Pennsylvania; therefore, there is complete diversity of

citizenship among and between the parties. The matter in controversy exceeds, exclusive of

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interest and costs the sum specified by 28 U.S.C., §1332; therefore, this Court has jurisdiction on
the basis of the diversity of citizenship and amount.

4. Venue in the Eastern District is properly laid pursuant to 28 U.S.C. §1391, in so
far as the alleged conduct complained of in this Complaint, Which forms the factual and legal
basis of the Plaintiffs’ claims, arose Within the geographical limits of this District in general and,
principally Within the geographical limits of Lehigh County, Pennsylvania, in particular

5. Both the Plaintiffs’ claims exceeds the amount established by and for compulsory
arbitration by the United States Eastern District Court pursuant to the Local Civil Rule 53.2 (3)
in that each cause of action and each count exceeds One Hundred Fifty Thousand ($150,000.00)
Dollars exclusive of interest and costs.

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6. On or about December lO, 2013, the Plaintiff, Dennis J. Lutz Was a patient at St.
Luke’s University Hospital located at 801 Ostrum Street, City of Bethlehem, County of Lehigh,
Commonwealth of Pennsylvania, having been admitted and present in the hospital for several
Weeks to undergo a Whipple procedure for a pancreatic mass excision. The Plaintiff experienced
as a result of that surgery complications including, but not limited to a bile leak, respiratory
failure requiring thoracentesis pneumonia and perihepatic fluid collection. As a result of these
complications treatment of the Plaintiff by his treating physicians required that he undergo an
esophagogastroduodenoscopy (hereinafter referred to as “EGD”).

7. The EGD procedure on December lO, 2013, occurred at St. Luke’s Hospital,
Ostrum Campus, and Plaintiff, Dennis J. Lutz Was present in the operating theater for this

diagnostic procedure from approximately l:OO p.m. to approximately 2:30 p.m.

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8. The anesthesia for the EGD was provided by the Defendant, Amit Arbind Prasad,
M.D. (hereinafter referred to as Defendant, “Prasad”). The Defendant began the administration
of anesthesia at approximately 1:00 p.m.

9. The EGD procedure was started once the Plaintiff was sedated at approximately
1:15 p.m., and said procedure ended at 1:18 p.m., a period of approximately 3 minutes.

lO. Beginning at the end of the EGD procedure at approximately at 1:18 p.m., the
Plaintiff became hypotensive and non-responsive to stimuli with apneaic breathing and could not
be returned to consciousness by Defendant, Prasad.

ll. From approximately l:lS p.m. through l:30 p.m., Defendant, Prasad was unable
to revive and/or restore the Plaintiff to consciousness

12. From approximately l:40 p.m. through 2:00 p.m., the Defendant, Prasad
continued to attempt to stabilize the Plaintiff by various procedures including, but not limited to
intubation and mac. At approximately 2:30 p.m., the Plaintiff was transferred to the ICU with a

blood pressure that transferred on a monitor of 179/73, and a pulse of 115.

13. The official anesthesia record indicates the total anesthesia time from 12:52 p.m.
to 2235 p.m.
14. Upon returning to consciousness and upon extubation in the ICU unit following

this procedure as set forth above, the Plaintiff, Dennis J. Lutz Was noted to have left side limb

paralysis.

15. This left sided paralysis, which has been persistent and a permanent feature in the

Plaintiff, Dennis J. Lutz, is believed to have been caused by the severe hypotension, bradycardia,

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and unresponsiveness suffered during the period where he was under the direct care of the
Defendant, Prasad.

16. The Plaintiffs believe and therefore aver that as a result of the negligence as
hereinafter described of the Defendant, Prasad, that the Plaintiff suffered a hypoxic brain injury
that occurred as a result of the anesthesia procedure and an inadequate response of the
Defendant, Prasad, as an anesthesiologist in being able to restore the Patient/Plaintiff to
consciousness

17. The Plaintiffs believe and therefore aver that CT Scans were performed on
December lO, 2013, December ll, 2013, and December 12, 2013, all of which demonstrated no
acute intracranial abnormality, no visible infarction and no evidence of hemorrhage or blood
clotting, all such studies lacking any evidence of thrombosis and/or hemorrhage.

l8. As a direct and proximate result of the negligent medical treatment provided by
the Defendant, Prasad to the Plaintiff, Dennis J. Lutz, and as a substantial factor and factual
cause, the Plaintiff, Dennis J. Lutz has suffered permanent left side hemiparesis, effecting both
his upper and lower limbs, which is permanent in nature. He has also suffered slow speech
patterns, permanent drooling, inability to ambulate because of the left lower paralysis and has
effectively loss the total use of his left arm. In addition, he suffers balance problems and
persistent pain in the effected limbs.

l9. As a direct and proximate result of the negligence of the Defendant, Prasad and as
a substantial factor and factual cause, the Plaintiff, Dennis J. Lutz, is forced to use various
orthopedic devices including, but not limited to four point cane, a plastic leg brace, and a

permanent left hand splint on a daily basis.

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20. Defendant, Prasad, was negligent in his treatment and care of the Plaintiff, Dennis

J. Lutz, in that he failed to exercise that degree and skill that the average practitioner in the
speciality of anesthesia, to which he respectively belonged, would have exercised acting in the
same or similar circumstances

Zl. Defendant, Prasad was negligent in that contrary to the customary practice of
anesthesiology, such the Defendant was not diligent in attending to the Plaintiff during and
following administration of anesthesia.

22. Defendant, Prasad was negligent in that contrary to the customary practice of
anesthesiology, such the Defendant administered anesthesia to the Plaintiff, Dennis J. Lutz and
did not adequately address the emergent situation during the administration of anesthesia when
the patient began experiencing what is believed to have been a hypoxemic event as more
particularly set forth hereinafter

23. At the time, date and place aforesaid, the careless and negligent acts of the
Defendant, Prasad consisted of the following:

a. In failing to administer the proper dose of anesthetics so that the Plaintiff could be
restored to consciousness when the three minute EGD procedure was complete;

b. In failing to secure an adequate and sufficient history from the Plaintiff in terms
of pre-anesthesia analysis;

c. ln failing to secure an adequate and suH`icient history from the Plaintiff and to
recognize the importance of that history in the formulation of his plan for the administration of
anesthetics;

d. In failing to timely appreciate, consider and recognize the medical significance
the Plaintiff’s severe hypotension, bradycardia, and responsiveness and in taking immediate

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emergent measures to restore the Plaintiff to consciousness and restore the function of
oxygenation to his brain;

e. In failing to intubate and render treatment to the Plaintiff after he became
hypotensive and hypoxic for a period of approximately 10 - 22 minutes during which period the
Plaintiff remained without proper intubation and the administration of potential life saving
measures;

f. In administering too high of a dose of anesthetics as a result of which he could not
restore the patient to consciousness following completion of the three minute EGD procedure;

g. In failing to appreciate, consider and recognize the medical significance of the
hypoxemia, severe hypotension, bradycardia and unresponsiveness;

h. In failing to ensure adequate oxygenation was occurring during the period that the
anesthesia was rendered;

i. In delaying for an unacceptable period of time the proper procedures to restore
consciousness and responsive functions in the patient;

j. In failing to properly and promptly use appropriate drugs for the administration of
anesthesia;

k. In using improper drugs to treat the Plaintiff in terms of dosage;

l. In failing to adequately monitor the patient during the anesthetic proceeding;

m. ln failing to have available and implement a proper protocol for dealing with the

non-return to consciousness coupled with severe hypotension, bradycardia and unresponsiveness
24. The above mentioned negligence, careless and unskillfulness on the part of the
Defendant, Prasad, was the direct and proximate cause, substantial factor and factual cause in
bringing about the losses and damages to the Plaintiff, Dennis J. Lutz,
25. As a direct and proximate result of the wrongful acts and negligent conduct set
forth heretofore, the Plaintiff, Dennis J. Lutz, sustained and as a substantial factor and factual
cause in bringing about the harm to the Plaintiff; Plaintiff has suffered from fear, trepidation,

terror, despair, severe mental anguish, emotional stress and strain, depression, anxiety and

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frustration, all of Which has caused him to suffer severe and permanent injuries to his anatomy as
well as physical and mental pain and suffering into the future.

26. As a direct and proximate result of the wrongful acts of the Defendant and as a
substantial factor and factual cause of the injuries sustained by the Plaintiff, the Plaintiff has
suffered physical pain and suffering, past, present and future.

27. As a direct and proximate result of the wrongful acts of the Defendant and as a
substantial factor and factual cause of the injuries sustained by the Plaintiff, the Plaintiff has
suffered mental anguish and emotional distress, past, present and future.

28. As a direct and proximate result of the wrongful acts of the Defendant and as a
substantial factor and factual cause of the injuries sustained by the Plaintiff, the Plaintiff has
suffered from inconvenience, embarrassment and humiliation, past, present and future.

29. As a direct and proximate result of the wrongful acts of the Defendant and as a
substantial factor and factual cause of the injuries sustained by the Plaintiff, the Plaintiff has
suffered from a loss of enjoyment of life, past, present and future.

30. As a direct and proximate result of the wrongful acts of the Defendant and as a
substantial factor and factual cause of the injuries sustained by the Plaintiff, the Plaintiff has
suffered cosmetic deformity and disfigurement.

31. As a direct and proximate result of the wrongful acts of the Defendant and as a
substantial factor and factual cause of the injuries sustained by the Plaintiff, the Plaintiff has
suffered a complete loss of future employability, past and future wage loss, and an impairment

of earning capacity in the future, all to his great financial loss.

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WHEREFORE, Plaintiffs, Dennis J. Lutz, demands judgment against the Defendant,

Prasad for an amount in excess of One Hundred Fifty Thousand ($150,000.00) Dollars.

COUNT II
Consortium Loss

Sandra Lutz
vs.
Amit Arbind Prasad, M.D.

32. Plaintiff incorporates by reference all the allegations contained in paragraphs one
through thirty one inclusively, as though same were set forth fully and at length herein.

33. As a direct and proximate result of the above-described occurrence, Plaintiff has
been deprived of the assistance, society and companionship of Plaintiff, Dennis J. Lutz up to the
date of the filing of this Complaint, all of which has been to her great financial loss

34. As a direct and proximate result of the above-described occurrence, the Plaintiff
will, in the future, be deprived of the assistance, society and companionship of Plaintiff, Dennis
J. Lutz, all of which has been to her great financial loss

WHEREFORE, Plaintiff, Sandra Lutz, demands judgment in her favor and against the

Defendant, Prasad, for a sum in excess of One Hundred Fifty Thousand ($150,000.00) Dollars.

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